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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                 Case No. 3:16-md-2738-MAS-RLS
   MARKETING, SALES PRACTICES
                                          MDL Case No. 2738
   AND PRODUCTS LIABILITY
   LITIGATION                             Motion Day: April 1, 2024

                                          Oral Argument Requested



    DEFENDANTS JOHNSON & JOHNSON’S AND LLT MANAGEMENT
     LLC’S CORRECTED MEMORANDUM OF LAW IN SUPPORT OF
       MOTION TO QUASH OR FOR PROTECTIVE ORDER FROM
                 SUBPOENA DIRECTED TO PWC
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                                     INTRODUCTION

         The third-party subpoena served by the Plaintiffs’ Steering Committee

  (“PSC”) to Johnson & Johnson’s auditor PricewaterhouseCoopers (“PwC”) should

  be quashed because (i) it seeks documents covered by the attorney work product

  protection and attorney-client privilege, and (ii) the PSC failed to articulate any

  rationale for its document demands—in utter disregard of its meet-and-confer

  obligations—and no legitimate rationale exists.

         Johnson & Johnson (“J&J”) is required to evaluate its potential legal liabilities

  and to disclose those potential liabilities and their value in certain circumstances.1

  Declaration of Erik Haas (“Haas Decl.”) ¶ 3. J&J hired PwC to audit its compliance

  with those disclosure requirements. Id. ¶ 5. PwC was thus charged with evaluating

  whether the Company’s potential talc liabilities require disclosure and, if so, to

  estimate the value of those potential liabilities for disclosure purposes. See id. ¶ 5.

  To guide PwC in its analysis, J&J shared its own assessment of the legal landscape

  facing the Company. Id. ¶ 7. In every respect, PwC’s analysis was built on and

  suffused with J&J’s own assessment of its potential talc-related legal liabilities in

  documents prepared because of the prospect of ongoing litigation. See id.




  1
   See, e.g., Financial Accounting Standards Board’s Accounting Standards Codification, 450-20-
  55-10.

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         The PSC is now demanding that PwC turn over those communications.

  Instead of subpoenaing J&J directly for its communications with PwC, the PSC

  subpoenaed PwC to produce “[a]ll communications between J&J, its internal and

  external advisors and PWC regarding its contingent liability for J&J’s talcum

  powder products including, but not limited to, the process for removing said talc

  liability from its balance sheet (or consolidated balance sheet).” PwC Subpoena

  Schedule A at 4. The PSC’s subpoena thus asks in no uncertain terms for PwC to

  produce communications containing J&J’s confidential legal assessment of potential

  liabilities from this litigation. That is wholly improper. The PSC is not entitled to

  know how J&J has assessed the viability and value of plaintiffs’ claims. That

  information is protected work product and privileged.

         The PSC has not stated2 and cannot articulate a reason why it is entitled to

  know J&J’s assessment of (a) “its contingent liability for … talcum powder

  products” or (b) what it would take to “remov[e] said talc liability from its balance

  sheet.” That information is part-and-parcel of J&J’s legal assessment of the claims

  in this litigation and, as courts have held time and again, J&J’s adversary cannot be



  2
    The meet-and-confer process has confirmed that the PSC issued its subpoena for an improper
  purpose. Instead of offering in good-faith a non-protected reason why the PSC is entitled to this
  information (which would be impossible since there is no such reason), the PSC stated instead that
  it would explain the basis for its subpoena after J&J moved this Court for relief. That is the exact
  opposite of how the meet-and-confer process is supposed to work. The point of meeting and
  conferring is to resolve disputes before going to Court. See L.R. 37.1. That is impossible if one
  side refuses to state the basis for its position.

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  allowed to discover it. For these reasons and those that follow, the Court should

  quash the subpoena or issue a protective order.

                                     ARGUMENT

        The PSC’s subpoena seeks “communications between J&J, its internal and

  external advisors and PWC” regarding J&J’s “contingent liability for J&J’s talcum

  powder products including, but not limited to, the process for removing said talc

  liability from its balance sheet (or consolidated balance sheet).” PwC Subpoena

  Schedule A at 4. By its terms, the subpoena seeks to discover how J&J evaluates the

  strength and value of talc plaintiffs’ claims, including the total amount necessary to

  achieve global resolution and remove those liabilities from J&J’s balance sheet. In

  no universe is the PSC, J&J’s litigation adversary, entitled to that information. It is

  protected work product and shielded by the attorney-client privilege.

        Accordingly, J&J moves under Rules 45(d) and 26(c) for an order quashing

  the subpoena or, in the alternative, for a protective order. See ExteNet Sys., Inc. v.

  Twp. of N. Bergen, 2021 WL 5782977, at *2 (D.N.J. Dec. 7, 2021) (party has

  standing to move to quash third-party subpoena on “privilege or privacy” grounds);

  see also Ramos v. Walmart, Inc., 2023 WL 2327208, at *3 & n.3 (D.N.J. Mar. 2,

  2023) (similar for a protective order). And because the only information responsive

  to the PSC’s subpoena is shielded by these doctrines, J&J’s motion should be granted

  outright; no privilege log is required. Indeed, the PSC’s litigation conduct reveals


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  that the only possible purpose of the subpoena could be to vex and harass both J&J

  and PwC, each of which served objections to the subpoena on February 28, 2024.

  See Declaration of Stephen D. Brody (“Brody Decl.”) ¶¶ 3–4, Exs. 1 and 2.

        A.     The Communications Sought By The PSC Are Protected Work
               Product.

        In our adversarial system, a party is not entitled to build its case off of the

  insights and preparations of the opposing party’s counsel. See Hickman v. Taylor,

  329 U.S. 495, 514 (1947); see also In re Grand Jury Matter #3, 847 F.3d 157, 165

  (3d Cir. 2017). The work product doctrine prevents this outcome by shielding from

  discovery “‘the mental processes of the attorney, providing a privileged area within

  which he can analyze and prepare his client’s case.’” In re Cendant Corp. Sec. Litig.,

  343 F.3d 658, 661–62 (3d Cir. 2003) (quoting United States v. Nobles, 422 U.S. 225,

  238 & n.11 (1975)).

        Importantly, work-product protection is not limited to documents created by

  lawyers. Attorneys often must rely on the assistance of third-party professionals

  such as consultants, auditors, and accountants to render legal advice to their clients.

  See id. at 662 (citing Nobles, 422 U.S. at 238–39). The work-product doctrine

  accordingly “extends beyond materials prepared by an attorney to include materials

  prepared by an attorney’s agents and consultants,” id., so long as that material

  contains “the mental impressions, conclusions, opinions, or legal theories




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concerning the litigation of an attorney or other [party representative],” Fed. R. Civ.

P. 26, Advisory Comm. Notes, 1970 Amendment.3

       That is precisely what the PSC is asking PwC to produce. To guide PwC in

its analysis, J&J shared with PwC its own “mental impressions, conclusions, and

opinions” about its potential liability in the talc litigation, including the value of the

underlying claims—the ultimate issues in the talc litigation. All communications

between J&J and PwC about this subject contain J&J’s work product. See In re

Cendant Corp., 343 F.3d at 662 (citing Fed. R. Civ P. 26, Advisory Comm. Notes,

1970 Amendment). The PSC is essentially asking to discover how J&J values its

adversary’s claims through a back-door subpoena to its auditor. The PSC obviously

could not issue such a subpoena directly. That the PSC seeks the same information

from a third-party makes no difference. All of the information responsive to the

subpoena that the PSC seeks is protected work product.




3
  Courts in this Circuit routinely find communications with non-lawyer third parties to be protected
from disclosure by the work product doctrine. See In re Johnson & Johnson Talcum Powder
Products, Marketing, Sales Practices, and Products Liability Litig., 2021 WL 3144945, at *9
(D.N.J. July 26, 2021) (J&J did not waive work product protections by disclosure to public
relations consultant because consultant was “necessary to advance the representation” (internal
quotation marks omitted)); see also, e.g., In re Cendant Corp., 343 F.3d at 667 (communications
between deponent, counsel, and trial consultant protected work product where “[t]he
communications took place” during a consultation that focused on issues “central to the case”);
Martin v. Bally’s Park Place Hotel & Casino, 983 F.2d 1252, 1261–62 (3d Cir. 1993) (technical
report prepared by consulting firm is work product exempt from disclosure because it was prepared
in anticipation of litigation by consultant); In re Grand Jury Matter #3, 847 F.3d at 165 (forwarding
email between client and attorneys to client’s accountant protected work product because it was
used to prepare for client’s case).

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      Courts around the country have reached the same conclusion, finding that

where, as here, documents “can fairly be said to have been prepared or obtained

because of the prospect of litigation,” they constitute attorney work product. United

States v. Adlman, 134 F.3d 1194, 1202 (2d Cir.1998) (emphasis in original).

Importantly, disclosing those materials to an outside auditor does not constitute

waiver or change the analysis. In re Niaspan Antitrust Litig., 2017 WL 3668907, at

*5 (E.D. Pa. Aug. 24, 2017) (finding that disclosure of litigation-related materials to

an auditor does not waive work product protection); see also, e.g., Merrill Lynch &

Co. v. Allegheny Energy, Inc., 229 F.R.D. 441, 446 (S.D.N.Y. 2004) (disclosure to

auditors did not constitute waiver of work product protection); Lawrence E. Jaffe

Pension Plan v. Household Int'l, Inc., 237 F.R.D. 176, 183 (N.D. Ill. 2006) (“the fact

that an independent auditor must remain independent from the company it audits

does not establish that the auditor also has an adversarial relationship with the client”

so as to constitute a waiver under the work product doctrine).

      B.     The Communications Sought By The PwC Subpoena Are Protected
             By The Attorney-Client Privilege.

      The subpoena is improper for the independent reason that responsive

communications are protected by the attorney-client privilege. While there is no

general privilege protecting communications between clients and their outside

auditors and courts have held the attorney-client privilege inapplicable to those

communications in various circumstances, see, e.g., Gutter v. E.I. Dupont de


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Nemours & Co., 1998 WL 2017926 (S.D. Fla. May 18, 1998) (but finding

communications protected as work product); In re Pfizer Inc. Sec. Litig., 1993 WL

561125, at *6 (S.D.N.Y. Dec. 23, 1993), the attorney-client privilege applies to

confidential communications made by counsel to assist in formulating legal advice

for the client. See, e.g., United States v. Kovel, 296 F.2d 918, 921 (2d Cir. 1961); cf.

N.J. Stat. Ann. § 45:2B-65 (establishing expectation of confidentiality by providing

that “no licensee or partner, officer, member, manager, shareholder, or employee of

a licensee or firm shall disclose information communicated to the licensee or firm

by the client relating to and in connection with services rendered to the client by the

licensee or firm in the practice of public accountancy”).4 But see § 3:5 Risk of

waiver of attorney-client privilege and work product protection through disclosure

to auditors, 1 Testimonial Privileges (3d ed.).

       Communications are also protected if the disclosure “is necessary to further

the goal of enabling the client to seek informed legal assistance.” Westinghouse, 951

F.2d 1414, 1428 (3d Cir. 1991). Specifically, where a consultant is retained to serve

as a “translator or interpreter” between the attorney and client to help facilitate the

rendering of legal advice, communications between the party and the consultant are



4
  Although the Third Circuit found waiver of the attorney-client privilege where a defendant
forwarded an email to his accountant in In re Grand Jury Matter #3, it did so based on the fact that
the defendant had not done so for the purpose of obtaining (or as relevant here, rendering) legal
advice. 847 F.3d at 161. The Third Circuit found that the forwarded attorney communication was,
however, protected from disclosure by the work product doctrine. Id. at 165.

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protected by the attorney-client privilege. In re Am. Med. Collection Agency, Inc.,

Customer Data Sec. Breach Litig., 2023 WL 8595741, at *8–9 (D.N.J. Oct. 16,

2023); In re G-I Holdings, Inc., 218 F.R.D. 428, 434–35 (D.N.J. 2004).

       J&J enlisted PwC to apply accounting contingency standards to evaluate the

universe of potential claims against J&J under the ASC 450 standard.                       The

communications between J&J and PwC about the Company’s talc liabilities

facilitated the provision of advice from J&J’s Law Department, which is responsible

for the financial accounting disclosures pertaining to J&J’s potential liabilities

arising from anticipated or actual litigation. See Haas Decl. ¶¶ 4, 7.

       Courts regularly hold that where a non-attorney consultant helps advise a

company “for the purpose of securing legal advice,”5 those communications are

protected by the attorney-client privilege. See, e.g., Davine v. Golub Corp., 2017

WL 517749, *6 (D. Mass. Feb. 8, 2017) (substantive communications from

consultant hired to assist counsel in advising client on how to comply with statutory

and regulatory requirements were protected by the attorney-client privilege); In re

Flonase Antitrust Litig., 879 F. Supp. 2d 454, 456–57, 459–60 (E.D. Pa. 2012)

(company’s communications with consultant about “legal and regulatory issues”




5
  See In re Zostavax (Zoster Vaccine Live) Prods. Liab. Litig., 2021 WL 1649894, at *1 (E.D. Pa.
Apr. 16, 2021), report and recommendation adopted, 2021 WL 1628127 (E.D. Pa. Apr. 27, 2021)
(communication is privileged where rendered for purpose of securing legal advice rather than
business advice).

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may be protected by attorney-client privilege). Indeed, in this very matter, this Court

has protected J&J’s confidential communications with an external consultant from

disclosure upon finding that “it was necessary for J&J’s attorneys to communicate

with J&J’s outside [] consultants to render legal assistance.” In re Johnson &

Johnson, 2021 WL 3144945 at *9. The Court should reach the same conclusion

here. See id. (recognizing that “the realities and practicalities of corporate life” often

require consultations with third-parties “for in-house counsel to render informed and

competent legal advice”).

      C.     J&J Is Not Required To Produce A Privilege Log Because All
             Responsive Communications Are Protected.

      This Court recently ordered the PSC to produce a privilege log documenting

its objections to a subpoena issued by J&J to third-party KCIC. Special Master

Order No. 18, ECF No. 29077 at 3. A privilege log was required both because the

communications sought from KCIC are “‘reasonably calculated to lead to discovery

of admissible evidence in support of a pending or contemplated motion for

disqualification,’” Doe v. Cabrera, 139 F. Supp. 3d 472, 478 (D.D.C. 2015) (quoting

Cobell v. Norton, 237 F. Supp. 2d 71, 101 n. 26 (D.D.C. 2003)), and because not all

documents responsive to that subpoena are protected—indeed, the PSC did not even

know which documents were and were not protected because it had never seen them.

      This subpoena is different. Unlike the communications at issue in the KCIC

subpoena, the subpoena expressly seeks “communications between J&J” and its


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accountant and all of the communications here are protected.                There are no

communications about J&J’s potential “liability for … its talcum powder products”

or “remov[al of] said talc liability from its balance sheet” that are not work product

or privileged. And where every responsive document is protected, a privilege log

would serve no purpose and is not required. Cf. In re Hubbard, 803 F.3d 1298, 1311

(11th Cir. 2015) (“Because the only remaining claim in AEA’s lawsuit struck at the

heart of the legislative privilege, and none of the information sought could have been

outside the privilege, there was no need for the lawmakers to peruse the subpoenaed

documents, to specifically designate and describe which documents were covered

by the legislative privilege, or to explain why the privilege applied to those

documents.”); Grider v. Keystone Health Plan Central, 580 F.3d 119, 139 n.22 (3d

Cir. 2009) (noting privilege log “may not be required for communications with

counsel that take place after the filing of a lawsuit”).

      D.     The Only Plausible Purpose Of The Subpoena Is To Vex And
             Harass.

      The PSC’s litigation conduct confirms that its attempt to subpoena PwC to

discover how J&J values talc plaintiffs’ claims serves no valid purpose. To start, the

PSC refused during meet-and-confer discussions to articulate a reason why it

thought that information was relevant. That violates the spirit, if not the letter, of

this Court’s Local Rules. But it is not surprising. Indeed, when it sought to quash

J&J’s subpoena to KCIC, the PSC took the position that discovery of


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communications with KCIC would be “both irrelevant and inadmissible in this

MDL.” PSC Reply in Support of Mot. to Quash KCIC Subpoena, ECF No. 28953

at 3.

        Given that the PSC is thus far unwilling even to articulate a reason why it

would be entitled to the information it seeks, the only possible conclusion is that the

subpoena is meant to “harass” J&J and PwC and “needlessly increase the cost of

litigation.” Fed. R. Civ. P. 26(g)(1)(B)(ii). At best, the PSC issued a subpoena for

the purpose of issuing a subpoena. At worst, the PSC tactically issued the subpoena

in the hopes of marshaling evidence that it could use to oppose another effort to

resolve this litigation through the bankruptcy process. Either way, discovering the

other side’s work product and privileged communications—on a matter as

fundamental as the strength and value of potential claims—is not a “[]proper

purpose,” id., worthy of a steering committee that is tasked above all with “achieving

efficiency and economy without jeopardizing fairness to the parties.” Ann. Manual

for Complex Litig., Fourth, § 10.221 at 25. This is true no matter how much the

lawyers on the PSC stand to profit personally by opposing bankruptcy-structured

resolutions that are supported by the vast majority of plaintiffs in this MDL.

        The subpoena should be quashed.




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                                CONCLUSION

      For the foregoing reasons, J&J respectfully requests that this Court grant

J&J’s motion to quash the subpoena directed at PwC or, in the alternative, issue a

protective order.

Dated: March 1, 2024                 Respectfully submitted,

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